                                    MAGISTRATE
          Case: 1:21-cr-00216 Document                  JUDGE
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           IS T R IC T COURT
CLERK, U.S
                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

     UNITED STATES OF AMERICA
                                                        Case No.:   21 CR 216
                   v.
                                                        BETH W. JANTZ
     STEVE WAITHE                                       Magistrate Judge

                        AFFIDAVIT IN REMOVAL PROCEEDING

            I, MARK WILSON, appearing by telephone before United States Magistrate

    Judge BETH W. JANTZ and being duly sworn on oath, state that as a federal law

    enforcement officer I have been informed that STEVE WAITHE has been charged by

    Complaint in the District of Massachusetts with the following criminal offenses:

    cyberstalking, in violation of Title 18, United States Code, Section 2261A(2); and wire

    fraud, in violation of Title 18, United States Code, Section 1343.

            A copy of the Complaint is attached. A copy of the arrest warrant also is

    attached.

                                                          /s/ Mark Wilson w/ permission BWJ
                                                         MARK WILSON
                                                         Special Agent
                                                         Federal Bureau of Investigation


    SUBSCRIBED AND SWORN to telephonically this 7th day of April, 2021.


                                                         BETH W. JANTZ
                                                         United States Magistrate Judge
Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 2 of 19 PageID #:2
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 3 of 19 PageID #:3

                                                                                 21-MJ-1209-DLC


                 AFFIDAVIT OF SPECIAL AGENT MARK WILSON
         IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
       I, Special Agent Mark Wilson, being duly sworn, hereby state the following:

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since January 2019. Before becoming an FBI Special Agent, I worked for five

years as a Staff Operations Specialist in the FBI’s Cleveland Division, providing analytical

support for criminal and national security cyber investigations. I was also a member of the FBI’s

Child Abduction Rapid Deployment Team, through which I deployed across the United States to

investigate child abductions by providing cyber analysis. I was also assigned to the Cleveland

Police Department’s Homicide Unit Task Force, where I conducted internet and technical

analysis to investigate homicide cases. Beyond my work experience, I also have received

extensive formal training in investigative techniques at the FBI Academy in Quantico, Virginia.

       2.      I am currently assigned to the Cyber Crimes Squad in the FBI’s Boston Division.

I am responsible for investigations involving computer system intrusions, internet fraud, and

cyberstalking. I have participated in the execution of warrants involving both cyber and white-

collar crimes. Based on my training and experience, I am familiar with the means by which

individuals use computers and information networks to commit these and other crimes.

                                  PURPOSE OF AFFIDAVIT

       3.      I am currently investigating STEVE WAITHE (“WAITHE”) for various crimes,
including, but not limited to, computer fraud and abuse, in violation of Title 18, United States

Code, Sections 1030(a)(4) and (5)(C); cyberstalking, in violation of Title 18, United States Code,

Section 2261A(2)(B); extortion, in violation of Title 18, United States Code, Section 875(d); and

wire fraud, in violation of Title 18, United States Code, Section 1343.

       4.      This affidavit is submitted in support of a criminal complaint and arrest warrant

charging WAITHE with wire fraud, in violation of Title 18, United States Code, Section 1343,

and cyberstalking, in violation of Title 18, United States Code, Section 2261A(2). As set forth

below, I have probable cause to believe that, from at least in or around February 2020 through at
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 4 of 19 PageID #:4




least in or around April 2021, WAITHE perpetrated a scheme to trick female then-current or

former Northeastern University (“Northeastern”) Track and Field athletes into sending him nude

or semi-nude photos through the use of sham social media accounts and stolen or otherwise-

compromised photos of the victims. I also have probable cause to believe that, from at least on

or about June 21, 2020 through at least on or about October 3, 2020, WAITHE engaged in the

cyberstalking of at least one female then-current or former Northeastern student-athlete through

messages sent via social media and intrusion into her social media account(s).

       5.      The facts stated herein are based on my own personal involvement in the below-

described investigation, as well as from information provided by other law enforcement officers

and from certain records. This affidavit is intended to show merely that there is probable cause

for the requested complaint and arrest warrant and does not set forth all of my knowledge about

this matter.

                            STATEMENT OF PROBABLE CAUSE
A.   Background of Investigation

       6.      WAITHE is a resident of Chicago, Illinois who previously resided in Somerville,

Massachusetts. Until in or about 2020, WAITHE had worked as a track and field coach at

several academic institutions, including Penn State University, the Illinois Institute of

Technology, the University of Tennessee, Northeastern University, and Concordia University

Chicago.

       7.      The FBI has been conducting an investigation of WAITHE, who was employed as

a coach of the Northeastern Track and Field team from on or about October 11, 2018 until in or

about February 2019. The investigation has centered on allegations that WAITHE used his

position to steal compromising photos of women on the team from their cellphones and

attempted to extort, stalk, and otherwise harass the victims, largely through dummy social media

accounts.

       8.      Starting during his first semester at Northeastern, WAITHE engaged in conduct

that gave rise to multiple reports of sexual harassment and led to a Title IX investigation

                                                  2
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 5 of 19 PageID #:5




conducted by the university. WAITHE’s employment at Northeastern ended in or about

February 2019, after the conclusion of the Title IX investigation.

       9.        During his time at Northeastern, WAITHE regularly requested the use of

cellphones of student-athletes for the stated purpose of filming their form at practice and at

meets. In these circumstances, female student-athletes provided WAITHE with access to their

phones and permission to record videos of them. While at times WAITHE did record the

performance of female student-athletes, WAITHE also was observed “scrolling through” the

phone(s) of one or more female student-athletes while holding the phone(s) as if he were

recording video. On one or more occasions, including at a track and field meet at Harvard

University in January 2019, WAITHE possessed at least one female student-athlete’s phone for

several hours.

B.     The Wire Fraud Scheme
       10.       As set forth below, beginning at least in or around February 2020, WAITHE

engaged in a scheme designed to trick female then-current or former Northeastern student-

athletes into sending him nude or semi-nude photos of themselves. In furtherance of the scheme,

WAITHE contacted victims through Instagram1 accounts, stated that he had found

compromising photos of the victims online, and offered to “help” them get the photos removed

from the internet. WAITHE also sent examples of the compromising photos to the victims.

       11.       From February 2020 to the present, the known victims have received more than

100 messages via Instagram like those described herein and dozens of image files depicting

themselves and/or their friends or teammates. In perpetrating the scheme, WAITHE repeatedly

employed the same basic pattern of conduct: disclosure of compromising photos of the victim, a

claim that the photos had been discovered online, and a request for additional photos.




       1
          Instagram is a social media application and service that enables users to, among other
things, share photos and videos and to communicate with one another through “direct messages”
in the app. Direct messages can be comprised of text, images, and/or videos.
                                                 3
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 6 of 19 PageID #:6




       WAITHE’s Google and Instagram Accounts
       12.     During the course of my investigation, I have reviewed records relating to IP

addresses2 assigned to WAITHE, Google accounts utilized by WAITHE, and Instagram accounts

created and/or controlled by WAITHE. Based on these records, I have determined that

WAITHE has utilized at least three Google accounts in furtherance of the conduct described in

this affidavit, as well as the Instagram accounts used to contact the victims as described below.

       Conduct as to Victims 1-5

       13.     On or about February 13, 2020, a female then-current or former member of the

Northeastern Track and Field team (“Victim 1”)3 received a message via Instagram from an

account with the username “anon.4887” (the “anon.4887 Instagram account”).

       14.     During the course of my investigation, I have reviewed records obtained from

Google demonstrating that the anon.4887 Instagram account was created and/or controlled by

WAITHE. For example, on February 14, 2020, Instagram sent a notification email regarding the

anon.4887 Instagram account to one of WAITHE’s Google email addresses.4

       15.     In his initial messages from the anon.4887 Instagram account to Victim 1,

WAITHE introduced himself as “Katie Janovich” and stated that he had located compromising

photos of Victim 1 online. WAITHE then sent several nude or semi-nude photos of Victim 1,

writing, “Sorry[,] I created this [anon.4887 Instagram] profile to help out don’t wanna be part of

       2
          An “Internet Protocol address” or “IP address,” as used herein, refers to a unique
numeric or alphanumeric string used by a computer or other digital service to access the internet.
Every computer or device accessing the internet must be assigned an IP address so that internet
traffic sent from and directed to that computer or device may be directed properly from its source
to its destination. Internet Service Providers typically maintain logs of the subscribers to whom
IP addresses are assigned on particular dates and times.

       3
         The identities of the victims in this case are known to law enforcement. To protect their
privacy, the victims are identified in this affidavit as Victims 1-6. Investigators have interviewed
each of the victims and believe their allegations to be credible.

       4
          Google has produced records for this account pursuant to a federal search warrant.
Based on my review of emails and other data produced by Google, I know that this account was
utilized by WAITHE.
                                                 4
         Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 7 of 19 PageID #:7




the drama”. Still presenting himself as “Katie Janovich”, WAITHE indicated that he had

“screenshotted” the photos, in a purported effort to “help.” In addition to photos of Victim 1,

WAITHE also sent nude or semi-nude photos depicting other young women, including other

female members of the Northeastern Track and Field team.

          16.   When Victim 1 agreed to allow “Katie” to assist in identifying photos of her

friends or teammates on the internet, WAITHE responded, “Not until you send me pictures of

you.”

          17.   Under the pretense that “Katie’s” own compromising photos had also been found

online, WAITHE repeatedly requested more photos from Victim 1, writing, “I’ll send you all the

personal ones if you send me you[;] that’s the only way[.] I also saw another girl that you might

know too. But only if you send yours.” WAITHE also wrote, “You should send me one of you

then.”

          18.   During the conversation, WAITHE sent Victim 1 no fewer than eighteen nude or

semi-nude photos via Instagram depicting Victim 1 and others. WAITHE also claimed to have

“hundreds” of additional photos.

          19.   Victim 1 did not send additional photos to WAITHE.

          20.   On June 12, 2020, a female then-current or former member of the Northeastern

Track and Field team (“Victim 2”) began receiving direct messages via Instagram from an
account with the username “privacyprotecter” (the “privacyprotecter Instagram account”).

          21.   During the course of my investigation, I have reviewed records obtained from

Google demonstrating that the privacyprotecter Instagram account was created and/or controlled

by WAITHE. Approximately fifteen minutes prior to the first contact from the privacyprotecter

Instagram account to Victim 2, Instagram sent an email to one of WAITHE’s Google email

addresses5 which read, “Welcome to Instagram, privacyprotecter”. Records obtained from


          5
          Google has produced records for this account pursuant to a federal search warrant.
Based on my review of emails and other data produced by Google, I know that this account was
utilized by WAITHE.
                                                 5
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 8 of 19 PageID #:8




Google relating to the internet search history associated with another one of WAITHE’s Google

accounts6 indicate that the account was used to search for Victim 2’s name multiple times in
2020, including three times less than four minutes before Victim 2 received her first message

from the privacyprotecter Instagram account7:




       22.      During the conversation between WAITHE, using the privacyprotecter Instagram

account, and Victim 2, WAITHE sent nude images of Victim 2 via direct message. WAITHE

claimed to have found the photos on the “dark web” and on a website called “leakedbb.com.”8

Under the “privacyprotecter” identity, WAITHE asked Victim 2 if she would like assistance in

taking the photos down and claimed that it was his “job” to do “image scrubbing” on the internet

to find and remove photos of Victim 2.

       23.      Later in the conversation, and under the pretense of assisting with the removal of

photos of Victim 2 from the internet, WAITHE asked Victim 2 if she had any “pictures of you

nude currently that I can use as reference” that could be used to “help my reverse image search”.

WAITHE attempted to persuade Victim 2 to send additional nude photos by telling her that

“people” have ways to evade the detection of a “reverse image search” and explained that “more



       6
          Google has produced records for this account pursuant to a federal search warrant.
Based on my review of emails and other data produced by Google, I know that this account was
utilized by WAITHE.

       7
           Victim 2’s name has been redacted from the list of search terms.

       8
        In the weeks leading up to the messages from the privacyprotecter Instagram account to
Victim 2, records relating to WAITHE’s Google search history includes searches relating to the
“leakedbb”, a website which hosts numerous types of “leaked” content, including photos.
                                                 6
      Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 9 of 19 PageID #:9




detailed pictures” were “the only way I can stop that from happening”. WAITHE wrote to

Victim 2 that he had “done this plenty of times even for another Northeastern athlete”.

       24.     Victim 2 did not send additional photos to WAITHE.

       25.     Starting on or about July 26, 2020, a female then-current or former member of the

Northeastern Track and Field team (“Victim 3”) began receiving messages via Instagram from

an account with the username “theprivacyprotecter” (the “theprivacyprotecter Instagram

account”).

       26.     During the course of my investigation, I have reviewed records obtained from

Google demonstrating that the theprivacyprotecter Instagram account was created and/or

controlled by WAITHE. For example, on July 29, 2020, Instagram sent a notification email

regarding the theprivacyprotecter Instagram account to one of WAITHE’s Google email

addresses.

       27.     During the conversation between WAITHE, using the theprivacyprotecter

Instagram account, and Victim 3, WAITHE told Victim 3 that there were photos depicting

Victim 3 posted on the internet and asked if Victim 3 would like his help getting the images

taken down “asap”. WAITHE then sent a semi-nude image depicting Victim 3. When Victim 3

did not respond, the sender wrote, “Is that a no? It’s fine if you don’t want my help just let me

know don’t want to waste time.”
       28.     When Victim 3 still did not respond, WAITHE sent another semi-nude image

depicting Victim 3, along with the text, “also there’s this one[.] And there’s about 5 of your

teammates on there as well a lot of them fully nude. I can show you if you don’t believe me[.]

Ok well your choice. I’ll leave you alone. Best of luck!”

       29.     Victim 3 did not send additional photos to WAITHE.

       30.     At some point prior to July 30, 2020, a female then-current or former member of

the Northeastern Track and Field team (“Victim 4”) also began receiving messages from

WAITHE via Instagram from the theprivacyprotecter Instagram account.



                                                 7
     Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 10 of 19 PageID #:10




        31.     During the conversation, WAITHE sent two images of Victim 5 and informed her

that the images had been posted on a website called “leakedbb.com.” WAITHE offered to

contact the website to have the images removed:

                 Ok what would you like me to do. There’s two ways I can go about it. I
                 can go through all of the pictures on the website and pick out which ones
                 look like you and your friends or similar and contact the host and have him
                 take it down which takes about a week or two because he claims he’s
                 always busy. Or I can reverse search every image that you believe could
                 have been hacked or NSFW and scrub them off the site that way. That takes
                 about 4 hours. Now obviously that option you can only do 4 pictures you
                 have in your possession which are your own. Totally up to you.

        32.     When Victim 4 responded that she would like assistance in having the photos

removed, WAITHE explained the “catch” to his proposed solution: “But only thing about that

option is you have to share with me basically every picture you have that you wouldn’t want on

the internet which I know is uncomfortable but that’s the only way I can search them”.

        33.     Later in the conversation, WAITHE wrote, “I have a question. When I reached

out to one of the women [Victim 6] and showed her and asked if it could be someone who leaked

them she said some named Steve. Do you know a Steve that it could be that we can investigate?”

        34.     WAITHE also attempted to persuade Victim 4 to send additional compromising

photos: “Is there more pictures that would have been hacked from your phone that are different. I

can look for those too. Also I’m pretty sure who ever it is they hacked them because it’s a 6

different women on your team and 38 total from the school. … The reason I asked you to send

me all of the pictures from your phone is because if I have the original pictures. I can use the

properties from the pictures to track where they originated on the site and find the ip addresses of

the poster or at least a location.”

        35.     Several weeks later, Victim 4 received a message via Instagram from a similarly-

named account with the username “privacyprotected” (the “privacyprotected Instagram

account”) referencing the above-described previous conversation.




                                                 8
    Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 11 of 19 PageID #:11




       36.     Records obtained during my investigation demonstrate that the privacyprotected

Instagram account was created and/or controlled by WAITHE. Specifically, the records indicate

that the privacyprotected Instagram account was registered from an IP address that matches an IP

address assigned by Comcast Communications to WAITHE and that the account also was

registered with WAITHE’s phone number, xxx-xxx-6887.9
       37.     In this portion of the conversation, WAITHE wrote, “Hello [Victim 4]! I don’t if

you remember me from a couple of weeks ago. I did some digging. Can you confirm something

for me. … Is the Steve you were talking about Steve Waithe?” When Victim 5 responded in the

affirmative, the sender wrote, “We are looking into him now. From what we are seeing it does

not look like the IP address is coming from him but I want to be sure”.

       38.     Victim 4 did not send additional photos to WAITHE.

       39.     On or about June 30, 2020, at approximately 7:48 PM, a female then-current or

former member of the Northeastern Track and Field team (“Victim 5”) received a message via

Instagram from an account with the username “privacyprotect1” (the “privacyprotect1 Instagram

account”).

       40.     During the course of my investigation, I have reviewed records obtained from

Google demonstrating that the privacyprotect1 Instagram account was created and/or controlled

by WAITHE. For example, on or about June 30, 2020 (the same day when Victim 5 received

her first message from the account), Instagram sent a notification email relating to the

privacyprotect1 Instagram account to one of WAITHE’s Google email addresses.

       41.     During the conversation, WAITHE sent approximately four nude images

depicting Victim 5. WAITHE explained to Victim 5 that he was working with a website started

for people whose nude photos were “leaked” with the hope of determining who had “leaked” the

images and having the images removed from the internet.

       9
          As of April 5, 2021, the privacyprotected Instagram account remained an active account
on Instagram. Based on records obtained during my investigation, including Comcast subscriber
records and a screenshot of a message in which WAITHE himself provided this number to a
victim, I have confirmed that the xxx-xxx-6887 phone number belongs to WAITHE.
                                                 9
     Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 12 of 19 PageID #:12




       42.     According to Victim 5, the nude images sent to her from the privacyprotect1

Instagram account had been saved on her cellphone in Fall 2018, when WAITHE was her coach.

Victim 5 reported that she had provided WAITHE with her cellphone to allow him to film her

form at practice and that WAITHE had possession of her phone on multiple occasions for

extended periods of time.

       43.     Victim 5 did not send additional photos to WAITHE.

       44.     Records relating to WAITHE’s Google accounts reveal at least dozens of searches

and website visits in 2020 appearing to relate to the wire fraud scheme. In May 2020, for

example, WAITHE’s internet search and browsing history includes a search for “can an

Instagram be traced” and a visit to a webpage page entitled, “Can anyone trace my fake

Instagram account back to me?”

       45.     Based on my training and experience, as well as through evidence obtained in the

course of this investigation, I understand that the servers on which Instagram’s social media

platform is based are not located in Massachusetts and that the direct messages sent via

Instagram described above were transmitted through interstate wires.

       46.     Based on my training and experience, as well as through evidence obtained in the

course of this investigation, I believe that WAITHE utilized the above-described Google and

Instagram accounts, and messages sent from these accounts, in furtherance of a scheme or
schemes to obtain property – i.e., nude or semi-nude photographs of the victims – by way of

false representation and/or fraudulent pretenses, representations, or promises.

C.     The Cyberstalking Course of Conduct
       47.     From on or about June 21, 2020 through at least on or about October 3, 2020,

WAITHE engaged in cyberstalking with respect to a then-current or former member of the

Northeastern Track and Field team (“Victim 6”). WAITHE’s cyberstalking with respect to

Victim 6 included sending messages and stolen or otherwise-compromised nude photos

depicting Victim 6 via Instagram; obtaining, or conspiring to obtain, unauthorized access to her

Snapchat account; stealing, or conspiring to steal, private photos contained in her Snapchat

                                                10
    Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 13 of 19 PageID #:13




account; sending the private photos via Instagram to Victim 6’s boyfriend; and sending

additional text messages to Victim 6 from an anonymous phone number.10
       48.     On or about June 21, 2020, at approximately 12:34 AM, Victim 6 began receiving

messages sent via Instagram from the privacyprotecter Instagram account, referenced above with

respect to WAITHE’s contact with Victim 2.

       49.     During the conversation, WAITHE sent approximately seven nude or semi-nude

photos of both Victim 2 and Victim 6 under the pretense that he could help Victim 6 determine

the origin of the photos and assist in having them removed from the internet. During the

conversation, WAITHE did not request additional photos from Victim 6.

       50.     According to Victim 6, the nude or semi-nude photos sent during this

conversation had been stored on her cellphone in Fall 2018, when WAITHE was her coach. She

reported that WAITHE had regular access to her cellphone and the cellphones of other student-

athletes, and with their permission he would use their phones to film their form at practice.

Victim 6 reported that, on several occasions in Fall 2018, she provided WAITHE with her

unlocked cellphone and that WAITHE had possession of the phone for approximately 20

minutes at a time. Victim 6 reported that, on at least one occasion, she observed WAITHE using

a “scrolling” motion with her phone, rather than simply using the phone to film her at practice.

       51.     On or about October 3, 2020, Victim 6 received text messages from four

unknown numbers purporting to be sent from the “Snapchat Support Team.” The messages

included reports of alleged suspicious activity with respect to Victim 6’s Snapchat account and

requested that Victim 6 provide a six-digit passcode to resolve the issue. Victim 6 provided a

six-digit passcode to the sender, along with a four-digit PIN. Victim 6 was notified later that day

of an unauthorized login to her Snapchat account.



       10
         Snapchat is a social media application and messaging service that enables users to,
among other things, share photos and videos and to communicate with one another through text-
based messages. Snapchat also has a feature through which users can store media in a private
album protected by an additional password or PIN number.
                                                11
    Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 14 of 19 PageID #:14




       52.     Based on my training and experience, as well as through information provided by

Victim 6, I understand that the six-digit passcode and four-digit PIN provided by Victim 6 would

have enabled the recipient to log in to Victim 6’s Snapchat account and also access a private,

PIN-protected photo album in the Snapchat application called “My Eyes Only.”

       53.     In the evening on or about October 3, 2020, Victim 6’s boyfriend received direct

messages on Instagram from an account with the username “pvcyprotect” and a profile picture

containing the words “Privacy Protector” (the “pvcyprotect Instagram account”). The first

message, sent at approximately 9:06 PM, read, “I wanted to make you aware that someone

hacked your girlfriend’s snapchat account and will leak it soon. I need your help to assure this

does not happen.”

       54.     During the course of this investigation, I have reviewed records obtained from

Google demonstrating that the pvcyprotect Instagram account was created and/or controlled by

WAITHE. For example, on October 5, 2020, Instagram sent a notification email regarding the

pvcyprotect Instagram account to one of WAITHE’s Google email addresses.

       55.     On or about October 3, 2020, WAITHE, using the pvcyprotect Instagram account,

sent two nude photos depicting Victim 6 to Victim 6’s boyfriend that, according to Victim 6, had

been stored only in her private “My Eyes Only” album in Snapchat. The sender wrote, “Do

these look familiar?” and “Please let me know asap”.
       56.     Based on records obtained during this investigation, WAITHE has repeatedly

searched for information on the internet about how to hack or otherwise obtain remote access to

Snapchat accounts, including searches for “how to hack someone’s Snapchat”, “how to hack a

Snapchat”, and “hacked Snapchat nudes”. On October 2, 2020 – that is, the day before the

unauthorized access of Victim 6’s Snapchat account described above – WAITHE’s internet

search history reveals a search for “how to hack Snapchat with a username and phone number”.

WAITHE’s internet browsing history for the same day reveals visits to pages entitled, “How to

Hack Someones Snapchat the Easy Way” and “How to Hack Someones Snapchat Account

Password Online”.

                                                12
     Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 15 of 19 PageID #:15




       57.     On or about October 3, 2020, at approximately 9:20 PM, Victim 6 also received

two text messages from an unknown number, xxx-xxx-5817. The messages contained a

photograph depicting Victim 6, as well as the question, “Is this you?”

       58.     During the course of this investigation, I have reviewed records obtained from a

company called TextNow, which provides an end-to-end phone service available through a

downloadable application. TextNow can be used to make free calls and send text messages over

wireless internet. TextNow will assign phone numbers to users, which users can change on

request.

       59.     Records obtained from TextNow indicate that the number xxx-xxx-5817 was

registered using one of WAITHE’s Google accounts on October 3, 2020 at 9:17 PM.

       60.     Based on my training and experience, as well as through evidence obtained during

the course of this investigation, I believe that WAITHE sent the photos and messages via

Instagram to Victim 6 as described above, obtained or conspired to obtain unauthorized access to

Victim 6’s Snapchat account, sent the photos and messages to Victim 6’s boyfriend as described

above, and utilized an otherwise-anonymous TextNow phone number to send additional

messages to Victim 6.

       61.     Based on my training and experience, I understand that Google, Instagram, and/or

Snapchat services described herein qualify as interactive computer services, electronic
communication services, or electronic communication systems of interstate commerce, or any

other facilities of interstate or foreign commerce.

D.     Additional Related Conduct
       62.     In addition to the evidence obtained concerning WAITHE’s scheme to defraud,

and his course of conduct to harass, female then-current or former Northeastern student-athletes,

records obtained during the course of my investigation relating to WAITHE’s Google accounts

reveal evidence of a different criminal scheme and a separate and as-yet unknown number of

additional victims.



                                                 13
     Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 16 of 19 PageID #:16




       63.     Under the purported premise of an “athlete research” or “body development”

study, WAITHE has emailed prospective victims from one of his Google accounts using the

persona of “Katie Janovich”, mentioned above. The emails contain an introduction like, “My

name is Katie, Steve told me to reach out to you in hopes for you to help us with our research!”

The emails describe a phony study for athletes and request information relating to height, weight,

body fat, and diet habits. The emails include a “most important” request for the victims to send

photos of themselves in a “uniform or bathing suit to show as much skin as possible.” The

emails include this explanation: “Most women have just sent a bunch of pictures in a bra and a

thong because it shows the most. Regular deep cut bras are best if you want to go topless that’s

best women have done that too because the easiest places the body usually shows changes is the

butt and the breasts.”

       64.     The emails provide the “reassurance” that the victims’ photos will not be shared

or saved. The emails conclude with the sender – “Katie” – stating that she will attach some

example photos of herself and oftentimes offering to send the victim a gift card when they are

finished participating in the study. The emails contain attachments of nude and semi-nude

images of “Katie,” a woman investigators have not yet identified.

       65.     Records obtained from Google also indicate that WAITHE is engaged in a similar

scheme using the pseudonym “Kathryn Svoboda,” instead of the name “Katie Janovich.”
       66.     To date, investigators have identified more than ten victims of the “body

development study” scheme, as well as over 300 nude and semi-nude images of victims in

WAITHE’s Google accounts.

                                          CONCLUSION
       67.     Based on the foregoing, I have probable cause to believe that WAITHE devised

and engaged in a scheme to defraud and to obtain property by means of false or fraudulent

pretenses, representations, or promises, and utilized interstate wires in so doing, in violation of

Title 18, United States Code, Section 1343; and that WAITHE engaged in intentional harassment

and/or intimidation through the use of any interactive computer service, electronic

                                                 14
Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 17 of 19 PageID #:17
Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 18 of 19 PageID #:18
                    Case: 1:21-cr-00216 Document #: 1 Filed: 04/07/21 Page 19 of 19 PageID #:19
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                       (Not for Public Disclosure)

Name of defendant/offender:             STEVE WAITHE

Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:                xxx-xx-1108

Height:                                                                Weight:
Sex:      M                                                            Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
